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                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

 TIMOTHY ARNOLD,                                      :
                                                      :
                Plaintiff,                            :   Case No. 3:19-cv-340
                                                      :
         v.                                           :   Judge Thomas M. Rose
                                                      :
 SPEEDWAY, LLC,                                       :
                                                      :
                Defendant.                            :
______________________________________________________________________________

    ENTRY AND ORDER GRANTING IN PART AND DENYING IN PART JOINT
         MOTION OF PARTIES FOR EXTENSION OF CASE DEADLINES
                                 (DOC. NO. 36)
______________________________________________________________________________

       Currently before the Court is Plaintiff Timothy Arnold (“Plaintiff”) and Defendant

Speedway, LLC (“Speedway”) (collectively, “Parties”) Joint Motion of Parties for Extension of

Case Deadlines (the “Motion”). (Doc. No. 36.) The Parties request the Court extend all current

pretrial deadlines for sixty (60) days after the Court issues its ruling on Defendant’s Motion for

Summary Judgment. (Id. at PageID 485-86.) The Court GRANTS IN PART and DENIES IN

PART the Parties’ Motion.

       The Court finds good cause to extend the deadline for the final pretrial conference.

However, the Court declines to extend the deadlines by sixty (60) days or extend the deadlines

based on the Court’s issuance of a decision on the Motion for Summary Judgment. The Court

further declines to move the trial date. Finally, the Parties shall comply with the established

deadlines for filing motions in limine, filing the proposed final pre-trial order, and exchanging trial

exhibits, as originally set forth in the Preliminary Pretrial Conference Order. (Doc. No. 12 at

PageID 91.)


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   The Court amends the previous trial schedule as follows:

      1. In chambers final pretrial conference:               January 5, 2022 at 2:30 p.m.

   DONE and ORDERED in Dayton, Ohio, this Monday, November 15, 2021.

                                                            s/Thomas M. Rose
                                                    ________________________________
                                                            THOMAS M. ROSE
                                                    UNITED STATES DISTRICT JUDGE




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